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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

  ANTHONY JONES                                    §
  Plaintiff                                        §
                                                   §
  vs.                                              §    CIVIL ACTION NO: 4:21-cv-2917
                                                   §
  KROGER TEXAS, L.P.                               §
  Defendant.                                       §

                         DISCLOSURE OF INTERESTED PARTIES
                          BY DEFENDANT KROGER TEXAS L.P.

        Defendant Kroger Texas L.P., incorrectly named as Kroger Texas, L.P., files this

Disclosure of Interested Parties. Plaintiff Anthony Jones will file his own disclosure statement.

        The following persons, associations of persons, firms, partnerships, corporations, affiliates,

parent corporations, or other entities are financially interested in the outcome of this litigation:

        1. Plaintiff Anthony Jones.

        2. THE TODD LAW GROUP, PLLC, Jeffrey N. Todd, Counsel for Plaintiff Anthony
           Jones.

        3. Defendant Kroger Texas L.P.

        4. KRGP Inc. (General Partner of Defendant Kroger Texas L.P.)

        5. KRLP Inc. (Limited Partner of Defendant Kroger Texas L.P.)

        6. The Kroger Co.

        7. BAKER • WOTRING LLP, Earnest W. Wotring, Karen R. Dow, Aliyah Davis,
           Counsel for Defendant Kroger Texas L.P.
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                                            Respectfully submitted,

                                            BAKER • WOTRING LLP

                                            /s/ Earnest W. Wotring
                                            Earnest W. Wotring
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                                            ATTORNEYS FOR DEFENDANT
                                            KROGER TEXAS L.P.




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing instrument
was served on the following through e-filing on February 15, 2022.

       Jeffrey N. Todd
       The Todd Law Group, PLLC
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       Houston, Texas 77034
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                                        /s/ Aliyah Davis
                                          Aliyah Davis



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